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 6                     UNITED STATES DISTRICT COURT
 7              FOR THE CENTRAL DISTRICT OF CALIFORNIA
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 9   HIDDEN EMPIRE HOLDINGS,               Case No. 2:22-cv-06515-MWF-AGR
     LLC; a Delaware limited liability
10   company; HYPER ENGINE, LLC; a
     California limited liability company; The Hon. Michael W. Fitzgerald
11   DEON TAYLOR, an individual,
                   Plaintiffs,             [PROPOSED] ORDER GRANTING
12
     vs.                                   JOINT STIPULATION TO CONTINUE
13                                         PRETRIAL AND TRIAL DATES
14   DARRICK ANGELONE, an
     individual; AONE CREATIVE LLC,
15   formerly known as AONEE
     ENTERTAINMENT LLC, a Florida
16   limited liability company; and ON
     CHAIN INNOVATIONS LLC, a
17   Florida limited liability company,
18              Defendants.
19
     DARRICK ANGELONE, an
20
     individual; AONE CREATIVE LLC,
21   formerly known as AONE
     ENTERTAINMENT LLC, a Florida
22
     limited liability company; ON
23   CHAIN INNOVATIONS LLC, a
24   Florida limited liability company
25                 Counterclaimants,
26
27
     HIDDEN EMPIRE HOLDINGS,
28   LLC; a Delaware limited liability
     company; HYPERENGINE, LLC; a
                                         -1-
                                   [PROPOSED] ORDER
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 1   California limited liability company,
 2   DEON TAYLOR, an individual,

 3                   Counterclaim
 4                   Defendants,
 5
     DARRICK ANGELONE, an
 6   individual; AONE CREATIVE LLC,
 7
     formerly known as AONE
     ENTERTAINMENT LLC, a Florida
 8   limited liability company; ON
 9   CHAIN INNOVATIONS LLC, a
     Florida limited liability company,
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11                  Third-Party Plaintiffs
12
             v.
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14   ROXANNE TAYLOR, an
     individual, Third-Party Defendant
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                                      [PROPOSED] ORDER
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 1        The Court has reviewed the parties’ Joint Stipulation, filed May 2, 2025
 2   (Docket No. ___). For good cause shown, the Court GRANTS the parties’
 3   request and ORDERS as follows:
 4        The pretrial and trial dates are CONTINUED as follows:
 5
 6                               Old Deadline       New Deadline
 7         Non-Expert            July 1, 2025       August 1, 2025
 8         Discovery Cut-off
           Expert Discovery      June 19, 2025      July 18, 2025
 9
           Cut-off
10         Last Day to Hear      June 2, 2025       July 7, 2025
11         Motions
           File Memorandum       July 7, 2025       August 7, 2025
12         of Contentions of
13         Fact and Law,
           Exhibit and
14
           Witness Lists,
15         Status Report
           regarding
16
           settlement, and all
17         Motions in Limine
18         Lodge Pretrial        July 14, 2025      August 14, 2025
           Conference Order,
19         file agreed set of
20         Jury Instructions
           and Verdict forms,
21
           file statement
22         regarding Disputed
23         Instructions and
           Verdict Forms, and
24         file oppositions
25         Final Pretrial        July 28, 2025      August 25, 2025
           Conference and                           at 11:00 a.m.
26
           Hearing on Motion
27         in Limine
28         Trial Date (Est. 10   August 12, 2025    September 9,
           Days)                                    2025. at 8:30
                                                    a.m.
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                                     [PROPOSED] ORDER
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 1         A trial of ten (10) Court days or more requires prescreening of a jury panel.
 2   No later than seven weeks prior to the Final Pretrial Conference, counsel must file
 3   joint notice of the then current estimate for trial, including the number of hours
 4   for testimony (see also Order Re Jury Trial, ¶ II(A)(4)). Failure to timely file the
 5   notice may result in continuance of the trial to allow sufficient time for a jury
 6   panel to be prescreened.
 7         IT IS SO ORDERED.
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 9
     Dated: May __, 2025        ________________________________________
10                                   UNITED STATES DISTRICT JUDGE
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                                       [PROPOSED] ORDER
